                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                 3:10CR238-RJC-DSC

UNITED STATES OF AMERICA

v.                                                              UNDER SEAL

PARKER ANTRON COLEMAN, et al.,



ORDER UNSEALING THIRD SUPERSEDING BILL OF INDICTMENT AND ARREST
                          WARRANTS


          UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an order directing that the

Third Superseding Bill of Indictment and Arrest Warrants be unsealed because there is no longer

a need to protect their secrecy,

          IT IS HEREBY ORDERED that the Third Superseding Bill of Indictment and Arrest

Warrants in this matter be UNSEALED, but that the various sealing and unsealing Motions and

Orders remain SEALED until further order of this Court.

          The Clerk is directed to certify two copies of this Order to the United States Attorney’s

Office.

          SO ORDERED.

                                                  Signed: May 9, 2011




          Case 3:10-cr-00238-RJC        Document 181        Filed 05/09/11     Page 1 of 1
